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                  EXHIBIT 1
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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
                                                                    -- --- x
     VIRGINIA L. GIUFFRE ,


                           Plaintiff ,
                                                                    Case No . :
             - against -                                            15 - cv-07433-RWS


     GHISLAINE MAXWELL ,


                           Defendants .


     -   -   -    -    -   -   -   -   -    -   -   -   -   -   -   -   -   -   -   -   X



                                           **CONFIDENTIAL**


                           Videotaped deposition of GHISLAINE
                 MAXWELL, taken pursuant to subpoena , was
                 held at the law offices of BOIES
                 SCHILLER          &   FLEXNER, 575 Lexington
                 Avenue, New York, New York , commencing
                 April 22, 2016, 9: 04 a.m., on the above
                 date, before Leslie Fagin, a Court
                 Reporter and Notary Public in the State
                 of New York .



                           MAGNA LEGAL SERVICES
                  12 0 0 Avenue of the Americas
                      New York, New York 10026




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                                                                Page 2
 1
 2   APPEARANCES:
 3
     BOIES SCHILLER & FLEXNER, LLP
 4   Attorneys for Plaintiff
               401 East Las Olas Boulevard
 5             Fort Lauderdatle , Florida , 333 01
     BY:       SIGRID McCAWLEY, ESQUIRE
 6             MEREDITH SCHULTZ , ESQUIRE
               EMMA ROSEN, PARALEGAL
 7
 8
     FARMER JAFFE WEISSING EDWARDS FISTOS &
 9   LEHRMAN, P.L.
               Attorneys for Plaintiff
10             425 N. Andrews Avenue
               Fort Lauderdale, Florida 33301
11   BY:       BRAD EDWARDS, ESQUIRE
12
13   PAUL G. CASSELL, ESQUIRE
     Attorneys for Plaintiff
14             383 South University Street
               Salt Lake City, Utah 84112
15
16
     HADDON MORGAN FOREMAN
17   Attorneys for Defendant
               150 East 10th Avenu
18             Denver, Colorado 80203
     BY:       JEFFREYS. PAGLIUCA, ESQUIRE
19             LAURA A. MENNINGER, ESQUIRE
20
21   Also Present:
22       James Christe , videographer
23
24
25




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 2         understand the bounds that I put on it.

 3                 MS. MCCAWLEY:    No, I don't.     I wi ll

 4         continue to ask my questions and you can

 5         continue to make your objections .

 6         Q.      Did you ever participate from the

 7   time period of 1992 to 2 009, did you ever
 8   participate in a massage with Jeffrey Epstein

 9   and another female?

10                 MR. PAGLIUCA:    Objection.     Do not

11         answer that question.       Again,    to the

12         extent you are asking for some sort of

13         illegal activity as you've construed in

14         connection with this case I don't have

15         any problem with you asking that

16         question.     To the extent these questions

17         involve consensual acts between adults,

18         frankly,    they're none of your business

19         and I will instruct the wi tness not to

20         answer.

21                 MS . McCAWLEY:   This case involves

22         sexual trafficking , sexual abuse,

23         questions about her having interactions

24         with other females is relevant to this

25         case.     She needs to answer these




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